             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION


FLORIDIANS PROTECTING
FREEDOM, INC.,

                    Plaintiff,

     v.
                                     Case No. 4:24-cv-00419-MW-
JOSEPH A. LADAPO, in his official    MAF
capacity as State Surgeon General
and Head of the Florida Department
of Health,

                    Defendant.


          DEFENDANT JOSEPH A. LADAPO’S SUPPLEMENTAL
          MEMORANDUM OF LAW ADDRESSING MOOTNESS
      1.     The Court requested supplemental briefing from the Defendant

concerning whether this case is moot. See ECF 40, Order for Suppl. Briefing at 2.

The State does not take the position that this case is currently moot under Article III.

To be sure, the State believes that jurisdiction is lacking for other reasons. For

example, standing does not exist for the reasons explained in the State’s prior

briefing. ECF 31, Def.’s Opp. to Prelim. Inj. at 7–11. And as the State anticipates

arguing in its supplemental brief on irreparable harm, the case is not ripe for

adjudication given the speculative nature of any enforcement-related harms. See,

e.g., Elend v. Basham, 471 F.3d 1199, 1211 (11th Cir. 2006) (First Amendment

claim not ripe where viability of claim turned on “circumstances” that had not yet

come to pass). But because “Caroline” is still being aired in Florida, and because

the effects of the advertisement are not finally known, the State does not take the

position that this case is currently moot under Article III.

      2.     This case is, however, prudentially moot. See Ingaseosas Int’l Co. v.

Aconcagua Investing Ltd., 479 F. App’x 955, 962–63 (11th Cir. 2012). Under the

doctrine of prudential mootness, a court may exercise its “discretion” and decline to

grant relief when a controversy has become “ ‘so attenuated that considerations of

prudence and comity . . . counsel the court to stay its hand, and to withhold relief it

has the power to grant.’ ” Id. at 962 (quoting Chamber of Com. v. U.S. Dep’t of

Energy, 627 F.2d 289, 291 (D.C. Cir. 1980)); see United States v. W.T. Grant Co.,

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345 U.S. 629, 633 (1953). Plaintiff filed this lawsuit and sought injunctive relief

before engaging with the State about the conditions under which Florida might

enforce its sanitary nuisance law. The State has since clarified that it has not

identified an individualized “harm that has arisen from the airing of the ‘Caroline’

commercial” and would “not mov[e] forward with an enforcement action under

these circumstances.” ECF 31-3, Pasley Decl. ¶¶ 4–5. This makes the prospect of

meaningful relief speculative at best. The critical question with respect to prudential

mootness, then, is “whether changes in circumstances that prevailed at the beginning

of the litigation have forestalled any occasion for meaningful relief.” Int’l Bhd. of

Boilermakers v. Kelly, 815 F.2d 912, 915 (3d Cir. 1987). That is the case here. So

the Court should refrain from issuing a preliminary injunction.

      3.     The State believes this case will likely become jurisdictionally moot

after the election. See, e.g., Brockington v. Rhodes, 396 U.S. 41, 43 (1969) (“the

case is moot because the . . . election is over”); Hall v. Sec’y of Alabama, 902 F.3d

1294, 1297 (11th Cir. 2018) (election mooted case); Thompson v. DeWine, 7 F.4th

521, 524 (6th Cir. 2021) (case “became moot when the election passed”).

      First, there is no plausible threat to Plaintiff’s advocacy once the election has

concluded. See ECF 1, Compl. ¶ 1 (Plaintiff brought this lawsuit “to protect its

rights . . . [to] disseminate FPF’s political advertisements in support of Amendment

4 in the homestretch of campaigning before the November 5 general election.”).

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Floridians will vote to either reject or accept Amendment 4 on November 5, 2024.

At that point, the alleged risk to Plaintiff’s advertising campaign will be no more. It

is no answer to suggest that there is some lingering possibility of enforcement in a

different, future context. After all, the “remote possibility that an event might recur

is not enough to overcome mootness, and even a likely recurrence is insufficient if

there would be ample opportunity for review at that time.” Najjar v. Ashcroft, 273

F.3d 1330, 1336 (11th Cir. 2001).

      Second, it is highly likely that the speculative possibility of any enforcement

action will dissipate entirely after the election occurs. As discussed, Plaintiff filed

this lawsuit before engaging with the State about the conditions under which the

State might enforce the sanitary nuisance statute. And the State has since clarified

that it has not identified an individualized “harm that has arisen from the airing of

the ‘Caroline’ commercial” and would “not mov[e] forward with an enforcement

action under these circumstances.” Pasley Decl. ¶¶ 4–5. In other words, the State

would only consider enforcement upon a showing of legally cognizable harm.

Plaintiff has taken the position that such harm is highly unlikely to occur. See ECF

39, Prelim. Inj. Hr’g Tr. at 21:6–8 (“we’ve shown the very large number of logical

leaps that would have to occur for [the State] to determine that [the commercial] has

actually caused harm”). And to date the State has identified no such harm. See

Pasley Decl. ¶¶ 4–5. So on the present record, any risk of enforcement-related harm

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is highly speculative. The State thinks it is reasonably likely that this speculative

risk will become non-existent once “Caroline” stops airing after election day

(assuming no legally cognizable harm presents itself in the coming days).

      4.     After the “Caroline” advertisement ceases to air, and prior to the

expiration of the Court’s temporary restraining order, the State intends to file with

the Court supplemental materials addressing whether it has become aware of any

legally cognizable harms that could trigger enforcement of its sanitary nuisance

statute. If the status quo holds, it is likely these materials will show that the case is

definitively moot.

      5.     For these reasons, the Court should deny Plaintiff’s motion for a

preliminary injunction. At minimum, the Court should permit the State to submit

supplemental materials bearing on mootness after the conclusion of the election, and

before issuing a preliminary injunction.




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Respectfully submitted,             Date: November 1, 2024


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                     CERTIFICATE OF COMPLIANCE

      This document complies with the word limit of Local Rule 7.1(F) and Local

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      Date: November 1, 2024

                                                /s/ Brian W. Barnes
                                                Counsel for Defendant
                                                Joseph A. Ladapo




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                         CERTIFICATE OF SERVICE

      I certify that on November 1, 2024, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send a notice of

electronic filing to all counsel who have entered an appearance.

      Date: November 1, 2024

                                                  /s/ Brian W. Barnes
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